IN THE UNTIED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
GRAMERCY INSURANCE COMPANY, )
)
Plaintiff, )
) Case No. 3:12-cv-00509
v. ) Senior Judge Haynes
)
)
EXPEDITOR’S EXPRESS, INC., et al, )
)
Defendants. )

Before the Court is the parties’ stipulation of dismissal of all claims pending in this action.
(Docket Entry No. 60). Pursuant to Fed. R. Civ. P. 41 (a)(l)(A)(ii), this action is DISMISSED with
prejudice.

This is the Final Order in this action.

lt is So ORDERED.

ENTERED this the 6 3 day ofAugust, 2015.

14 QQ M
WILLIAM J. .

Senior United States District Judge

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